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5
     Attorney for Defendant
6    GENRO VELA-RODRIQUEZ
7

8                             IN THE UNITED STATED DISTRICT COURT

9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )   Case No.: 1:12-cr-00326 AWI
                                                      )
12                   Plaintiff,                       )   STIPULATION TO SET CASE FOR
                                                      )   CHANGE OF PLEA
13           vs.                                      )
                                                      )   Date: May 19, 2014
14   GENARO VELA-RODRIQUEZ,                           )   Time: 10:00 am
                                                      )   Honorable Anthony W. Ishii
15                   Defendant.                       )
16           It is hereby stipulated by and between the parties hereto, through their attorneys of record
17   as follows:
18           This case is currently set for trial on June 17, 2014. The parties believe that a resolution
19   of the case will be reached, and request that this matter be placed on the court’s calendar for a
20   change of plea on May 19, 2014 at 10:00 am. Time has already been excluded to and through
21   the current trial date
22   Dated: April 27, 2014
                                                            /s/ Carl M. Faller_____
23
                                                            CARL M. FALLER
24                                                          Attorney for Defendant
                                                            GENARO VELA-RODRIQUEZ
25

26   ///
27
     ///
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            Case 1:12-cr-00326-AWI-BAM Document 74 Filed 05/01/14 Page 2 of 3


                                                          BENJAMIN B. WAGNER
1
                                                          United States Attorney
2

3                                                     By: /s/ Henry Z. Carbajal____
                                                          HENRY Z. CARBAJAL
4                                                         Assistant U.S. Attorney
5

6
            ORDER:
7
            Based upon the stipulation of the parties and good cause appearing, it is hereby
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     ORDERED that this matter be set for May 19, 2014 at 10:00 am for a change of plea. Time has
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10   previously been excluded to and through the currently-set trial date.
     .
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12   IT IS SO ORDERED.

13   Dated: April 30, 2014
                                                 SENIOR DISTRICT JUDGE
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